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                                          The Office of Vince Ryan
                                             County Attorney




                                              December 14, 2017


     Mr. Logan Churchwell                                                            Sent via e-mail and
     32 E. Washington Street, Suite 1675                       Certified Mail/ Return Receipt Requested
     Indianapolis, Indiana 46204
     Leh urch well@publicinterestlegal.org

     RE:    Public information request to the Harris County Voter Registrar. C. A. File No. 17PJA0762

     Dear Mr. Churchwell:

             On behalf of the Harris County Voter Registrar's office, this letter acknowledges receipt
     of your December 1, 2017 request for documents submitted pursuant to the Texas Public
     Information Act, Tex. Gov't Code §552.001 et. seq, (the "Act"). This correspondence also serves
     as notification of the need for clarification in order to fulfill your request.

             Your request seeks the "inspection or copies of' information, dating back to January of
     2006, related to 1) "registrants who were identified as potentially not satisfying the citizenship
     requirements for registration from any official information source," 2) requests for registration
     cancellations by voters or their agents for "any reason related to non-U.S. citizenship/ineligibility,"
     3) individuals who claimed to be a non-U.S. citizens when attempting to avoid jury duty, seeking
     copies of the official referrals and other related documents, and 4) certain communications to
     various law enforcement agencies.

             Initially, we note that it is unclear as to whether you are choosing to inspect or copy, or to
     both inspect and copy, the requested information. Please clarify your request so that your desired
     method ofreceiving or reviewing the requested information is clear. We also note that the apparent
     basis for your request, National Voter Registration Act, 52 U.S.C. § 20507(i), applies to the States
     and limits the time period that certain records must be maintained to two years. Please be aware
     that for this reason, many of the records you seek may not be available. However, the Texas
     Secretary of State's office may have a portion of the information you are seeking in a more suitable
     format with a significantly lower costs associated with the production. Please advise as to whether
     you would like to withdraw your request and seek the information from the Texas Secretary of
     State's office or would like to narrow the time frame of the request.




1019 Congress, 15th Floor• Houston, Texas 77002 •Phone: 713-274-5101 •Fax: 713-755-8924

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        As stated, this broad request entails the use of significant personnel resources to retrieve
responsive information that may or may not yield the desired information. In an attempt to find
potentially responsive information to your request, the Harris County Voter Registrar's Office will
have to expend labor sorting through years of records, some of which will likely contain
confidential information, may be only potentially responsive, or may not be responsive at all.
Please clarify and confirm whether you intend to pursue such a labor intensive search for
documents or if you would like to narrow your request, as noted below.

        Item 1: "Documents regarding all registrants who were identified as potentially not
satisfying the citizenship requirements for registration ... "

        Please clarify whether you are requesting the information obtained under section
62.113(b)(l) of the Texas Government Code and whether you are requesting the Harris County
Voter Registrar's office to use this information in order to create and produce the requested
information, i.e., names of registered voters, associated voter history, notices, responses, actions
taken, etc. Note that the County Clerk's office is the custodian of voter history, not the Voter
Registrar.

        Item 2: "All documents and records ofcommunication received by your office from voters,
legal counsel, claimed relatives, or other agents since January 1, 2006 requesting a removal or
cancellation from the voter roll for any reason related to non-US. citizenship/ineligibility ... "

         Specifically, when you include "ineligibility" as a reason for the request for cancellation,
do you mean to encompass each and every eligibility requirement under Tex. Elec. Code §13.001?
Or did you intend to limit the reason for cancellation to ineligibility based solely on non-U.S.
citizenship? Narrowing the scope of your request will assist the Voter Registrar's office in their
efforts to produce responsive documents. For example, it is a relatively common practice for voters
to request cancellation when they have moved to another county (i.e., ineligible under
§13.00l(a)(S)); such requests for cancellation would be responsive under your broad request.

       Please understand that voters request cancellations using a form in which they are not
required to state any reason for which they are seeking cancellation. Any indication that a voter
has requested cancellation for a particular "reason" would therefore be derived from incidental
documentation through a labor and time intensive review.

        Item 3: "All documents and records of communication received by your office from jury
selection officials-state and federal-since January 1, 20026 referencing individuals who
claimed to be non-US. citizens ... "

       Please clarify whether you are requesting the information obtained under section
62.113(b)(l) of the Texas Government Code and whether you are requesting the Harris County
Voter Registrar's office to use this information in order to create and produce the requested
information, i.e., matched registered voters, associated communications, etc.

       Item 4: "All communications regarding your list maintenance activities relating to #1
through 3 above to [various law enforcement agencies}. .. "




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        Please provide a time period for the information that you are seeking. Further, section
552.108 of the Texas Government Code provides an exception to the release of certain information
that would interfere with the detection, investigation, or prosecution of crime, or relates to an
investigation that did not result in conviction or deferred adjudication. Please clarify whether your
request for information includes or excludes such information.

       Please note that pursuant to Tex. Gov't Code Ann. § 552.222, if the Office of the Harris
County Attorney does not receive a written response from you by the 61 st day after the date of this
request for clarification, the underlying request for public information will be considered to have
been withdrawn.

        Lastly, any potentially responsive documents may contain certain information that has been
deemed to be confidential under common law privacy or by statute, including dates of birth,
driver's license numbers, personal identification numbers, full or partial social security numbers,
indication of interest in working as an election judge, certain residence addresses of judges or law
enforcement personnel, telephone numbers, and email addresses. As a general rule, the Harris
County Voter Registrar's office will be required to request a ruling from the Attorney General's
office in order to withhold certain confidential information. Such a request may delay the
production of any responsive documents. However, if you agree to the redaction of such
confidential information there will be no need to seek a ruling from the Attorney General's office
related to that portion of the information. Please notify me in writing if you will agree to the
redaction of the above referenced confidential information.



                                              Yours very truly,

                                              VINCE RYAN
                                              County Attorney

                                              By~k
                                              Kristen Lee
                                              Assistant County Attorney




cc:     Harris County Voter Registrar




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